Case 1:21-cv-02930-RCL   Document 109-1   Filed 03/11/25   Page 1 of 5




                  EXHIBIT 1
      Case 1:21-cv-02930-RCL              Document 109-1         Filed 03/11/25      Page 2 of 5




                      GOVERNMENT OF THE DISTRICT OF COLUMBIA
                             Office of the Attorney General

ATTORNEY GENERAL
BRIAN L. SCHWALB

Civil Litigation Division
Equity Section

                                           November 14, 2024

VIA EMAIL

William Claiborne
ClaiborneLaw
Suite 300
717 D Street, NW
Washington, D.C. 20004
Counsel for Plaintiffs

Re:       Parrott, et al. v. District of Columbia, Case No. 1:21-cv-02930-RCL (D.D.C.)

Dear Counsel:

During the Parties’ discussions concerning Plaintiffs’ most recent request for an extension of the
discovery deadline, which was ultimately granted in part, Plaintiffs took the position that there
were many outstanding issues with regard to their discovery requests. In response, the District
explained that it was not aware of any remaining issues and requested that Plaintiffs identify the
issues that they believed were outstanding. Plaintiffs ultimately proposed a meet and confer so
that they could identify the purportedly open issues. To facilitate the Parties’ discussion, the
District requested that Plaintiffs provide a list of topics that Plaintiffs intended to raise during the
meet and confer. Plaintiffs failed to provide that list, nor did they provide any type of agenda.
As a result of Plaintiffs’ failure, the November 12, 2024 meet and confer was not a productive
use of the Parties’ time. Plaintiffs raised issues in a random and haphazard fashion and then
expected the District to respond in real time despite having been denied the opportunity to
adequately prepare. Ultimately, Plaintiffs agreed to provide a list of issues that they believe
remain outstanding, and the District awaits the promised list. The District summarizes what was
discussed during the November 12, 2024 meet and confer below.

      •     Plaintiffs claimed that the District had not identified the databases that are used to track
            property seized by MPD, had not identified the fields available in said databases, and
            had not identified any individuals who are knowledgeable about said databases.

As we explained during the meet and confer, Plaintiffs’ claims are not accurate. Plaintiffs have
been aware for more than a year that EvidenceOnQ is the database that MPD uses to track seized
property, and the District identified the fields available in EvidenceOnQ to Plaintiffs more than
      Case 1:21-cv-02930-RCL           Document 109-1          Filed 03/11/25      Page 3 of 5




six months ago. The District also identified for Plaintiffs the individual most knowledgeable at
MPD in how EvidenceOnQ works (Commander Sean Conboy) and Plaintiffs then deposed
Cmdr. Conboy. To the extent Plaintiffs believe that the Department of Forensic Sciences (DFS)
has any relevance to this litigation, the District identified for Plaintiffs in June 2024 an individual
who was knowledgeable about how DFS tracks and stores property.

Further, Plaintiffs served a Rule 30(b)(6) notice on the District on June 13, 2024, that included
topics relating to databases used to track seized property. The District responded on June 28,
2024, agreeing to produce witnesses who would address many of Plaintiffs’ identified topics, and
invited Plaintiffs to participate in a meet and confer to move that process forward. Plaintiffs
never responded. When the District proposed to Plaintiffs that, to the extent they believe that
still lack certain information about the identified databases, a Rule 30(b)(6) deposition would be
the most efficient course to address those concerns, Plaintiffs rejected that approach. Plaintiffs
did not provide a reason for their rejection, other than their perceived right to conduct discovery
in any way that they see fit. The District disagrees with Plaintiffs’ understanding of the Federal
Rules. Contrary to Plaintiffs’ belief, they have no right under the rules to depose any District
employee they choose regardless of whether that individual has any knowledge of the specific
claims at issue.

As it stands, Plaintiffs have failed to identify any information responsive to an existing request,
relevant to their remaining procedural due process claim, and missing from the District’s
productions. Plaintiffs only apparent grievance is that they do not understand the general
operation of EvidenceOnQ as well as they would like. To the extent Plaintiffs expect the District
to make additional District employees, who have no personal knowledge related to the
underlying facts of Plaintiffs’ claims, available for deposition ostensibly to discuss
EvidenceOnQ, the District will not do so. As the District explained, that approach makes no
sense: The witness in that scenario (as well as the District) has no idea what questions Plaintiffs
intend to ask and could only ever answer based on his or her own personal knowledge, informed
by his or her own individual touchpoints with the department’s policies and procedures, which
could be limited in a plethora ways that would make the testimony unusable by either side, if he
or she is able to answer at all. Discovery is not a game of battleship that entitles Plaintiffs to
depose random District employees until they “hit” on one that can answer their questions. If
Plaintiffs are adamant about additional deposition practice, the District remains willing to discuss
a Rule 30(b)(6) deposition. We will entertain a list of proposed 30(b)(6) topics any time prior to
February 13, 2025; after that, the burden on the District to identify and prepare a witness or
witnesses would be presumptively disproportionate.

     •   Plaintiffs claimed that the District had not produced any names, addresses, or social
         security numbers associated with property seized by MPD.

As we explained during the meet and confer, Plaintiffs’ claim is not accurate: The District has
already produced names and addresses in EvidenceOnQ that are associated with seized property.
After conceding that their initial claim was inaccurate and acknowledging that the District has
already produced those names and addresses, Plaintiffs pivoted to a claim that the names and
addresses provided are insufficient because it is unclear to Plaintiffs whether the names provided
in connection with seized property are the actual owners of the seized property. In response, the



                                                  2
      Case 1:21-cv-02930-RCL          Document 109-1         Filed 03/11/25      Page 4 of 5




District explained that it had provided all information contained in EvidenceOnQ on that front
and that understanding the circumstances surrounding a specific piece of seized property would
require an individualized inquiry. Notably, Plaintiffs did not identify any support for their
implicit claim that the District has not already identified the owners of the seized property.

When asked why the names and addresses of individuals whose property had been seized were
relevant to Plaintiffs’ procedural due process claim, such that additional discovery on this subject
would be justified, Plaintiffs were unable to identify any relevance. Instead, Plaintiffs argued
that they needed to identify putative class members in order to determine if the claims of the
named Plaintiffs are “typical” of the putative class members’ claims. Plaintiffs’ relevance
argument, however, does not hold water. Plaintiffs appear to misunderstand the purpose of class
certification. If Plaintiffs need to investigate the facts surrounding the seizure of property from
each putative class member to know if each class putative class member is or is not a member of
the putative class, then class certification is obviously not appropriate. Indeed, if that is
Plaintiffs’ theory of typicality, we would appreciate Plaintiffs confirming in writing so that we
can move to strike the class claims now.

     •   Plaintiffs claimed that the District had not identified cases in D.C. Superior Court that
         involved motions for the return of property.

As we explained during the meet and confer, Plaintiffs’ claim is not accurate: The District
produced a list of cases in which motions for the return of property had been filed on December
1, 2023. Plaintiffs then pivoted to a claim that the produced list did not identify situations where
(1) a motion for the return of property was filed and (2) there was no existing criminal matter
into which it could be filed. That claim was inaccurate as well. As the District reminded
Plaintiffs, they received a detailed explanation concerning the produced spreadsheet, which
included an explanation about how to identify the situations where motions had been filed where
there was no existing criminal matter. See December 12, 2023 email from Mr. Sobiecki to Mr.
Claiborne. Plaintiffs then asked the District to produce all documents associated with those
cases, and the District explained that Plaintiffs had the same access to documents in those cases
as it did—the publicly available docket. Plaintiffs responded by noting that several cases were
sealed and by demanding that the District produce those documents. As the District had
explained previously (on several occasions), the District does not have special or privileged
access to documents in a sealed case. In order to obtain those documents, a motion to unseal
would need to be filed in D.C. Superior Court. The District also reiterated its willingness to join
Plaintiffs in any motion to unseal. Plaintiffs disagreed that any motion to unseal was necessary
and instead took the position that, because the D.C. Superior Court is a part of the District
government, the District can simply demand that the clerk’s office provide it with sealed filings.
The Parties agreed to disagree on that point, but the District is of course willing to review any
authority Plaintiffs have in support of their position.

Plaintiffs also requested that the District update the spreadsheet produced on December 1, 2023,
to account for any recently filed motions for the return of property. The District agreed to do so.




                                                 3
      Case 1:21-cv-02930-RCL            Document 109-1         Filed 03/11/25     Page 5 of 5




      •    Plaintiffs claimed that they are entitled to all documents concerning all seizures of
           property identified by the District in discovery, including all documents relating to any
           related criminal investigations.

In response, the District noted that Plaintiffs were not seeking relevant documents and that the
demand for literally everything would be unduly burdensome as well given that Plaintiffs’
request concerns more than 10,000 items of property. When asked why those documents were
relevant, Plaintiffs stated that they were relevant to determining whether MPD had a valid basis
to seize the property. When asked how the validity of the seizure was relevant to Plaintiffs’
procedural due process claim, Plaintiffs had no explanation. Unless Plaintiffs can articulate how
discovery into the validity of the seizure of their property and the property of the putative class
members is relevant to their procedural due process claim, the District will not produce that
information.

To the extent Plaintiffs believe that any other discovery issues are outstanding, please provide a
detailed list by November 20, 2024, otherwise we will assume that there are none. Further, if
you believe we have misstated anything concerning the Parties meet and confer, we look forward
to your correction by the same date.

Sincerely,

BRIAN L. SCHWALB
Attorney General for the District of Columbia

By:       /s/ Richard P. Sobiecki
          Richard P. Sobiecki
          Assistant Attorney General

Cc:       Helen M. Rave, Assistant Attorney General
          Brendan Heath, Assistant Attorney General




                                                   4
